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14
                         UNITED STATES DISTRICT COURT
15                      CENTRAL DISTRICT OF CALIFORNIA
16                            WESTERN DIVISION
17
     CHRISTAL RAPOS,                        ) Case No. 2:20-cv-08798-JC
18                                          )
                                            )
19         Plaintiff,                       )
                                            ) JUDGMENT OF REMAND
20                v.                        )
                                            )
21   KILOLO KIJAKAZI,                       )
     Acting Commissioner of Social          )
22                                          )
     Security,                              )
23                                          )
                                            )
24         Defendant.
25
           The Court having approved the parties’ Stipulation to Voluntary Remand
26
     Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
27
28
     (“Stipulation to Remand”) lodged concurrent with the lodging of the within



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 1   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
 2   DECREED that the above-captioned action is remanded to the Commissioner of
 3   Social Security for further proceedings consistent with the Stipulation to Remand.
 4
 5   DATED:      November 10, 2021
 6
                                                  /s/
 7
                                     HONORABLE JACQUELINE CHOOLJIAN
 8                                   UNITED STATES MAGISTRATE JUDGE
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